      Case 3:07-cv-00495 Document 7 Filed on 01/09/08 in TXSD Page 1 of 4



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                 GALVESTON DIVISION

CHARLIE MATTHEW DAVIS, JR.                            }
TDCJ-CID NO.1213503,                                  }
                                                      }
v.                                                    }       CIVIL ACTION NO. G-07-495
                                                      }
NATHANIEL QUARTERMAN,                                 }
DIRECTOR OF TDCJ-CID                                  }

                                   OPINION ON DISMISSAL

               Petitioner Charlie Matthew Davis, Jr., a state inmate, seeks habeas corpus relief

under 28 U.S.C.§ 2254. In 2003, Petitioner was convicted of murder in the 56th District Court of

Galveston County, Texas, in cause number 02CR2111, upon a verdict of a jury. The jury

assessed punishment at fifty years confinement in the Texas Department of Criminal Justice -

Correctional Institutions Division. Petitioner’s conviction was affirmed on appeal on July 26,

2005. Davis v. State, No. 14-04-00007-CR, 2005 WL 1772421 (Tex.App.–Houston [14th Dist.]

2005). His petition for discretionary review was refused by the Texas Court of Criminal Appeals

on February 1, 2006. Davis v. State, P.D.R. No. 1268-05.

               On November 8, 2004, while his direct appeal was still pending, Petitioner, then

serving the murder sentence, filed a federal habeas application, challenging an imposition of

solitary confinement following a disciplinary infraction.       That petition was dismissed with

prejudice. Davis v. Dretke, Civil Action No. G-04-741 (S.D. Tex. Apr. 29, 2005). Petitioner did

not appeal that judgment.

               Petitioner, through counsel, filed the instant action on October 2, 2007. (Docket

Entry No. 1). In this petition, Petitioner seeks federal habeas relief from the murder conviction

itself on grounds that his trial attorney rendered constitutionally ineffective assistance of counsel
      Case 3:07-cv-00495 Document 7 Filed on 01/09/08 in TXSD Page 2 of 4



by failing to request a jury instruction on defense of property. (Id.). Respondent filed a motion

to dismiss urging this petition be dismissed for lack of jurisdiction because Petitioner’s writ is

successive. (Docket Entry No. 5). Petitioner’s attorney has filed no response to Respondent’s

motion, nor has he requested an extension of time to do so. The petition will be dismissed

because it is, in the opinion of this Court, successive.

               In general, federal habeas corpus petitioners must bring their claims in one action.

28 U.S.C.§ 2244(b) provides, in relevant part, as follows:

               (1) A claim presented in a second or successive habeas corpus application
               under§ 2254 that was presented in a prior application shall be dismissed.

               (2) A claim presented in a second or successive habeas corpus application
               under § 2254 that was not presented in a prior application shall be
               dismissed unless-

               (A) the applicant shows that the claims rely on a new rule of constitutional
               law, made retroactive to cases on collateral review by the Supreme Court,
               that was previously unavailable; or

               (B) (i) the factual predicate for the claim could not have been discovered
               previously through the exercise of due diligence; and

               (ii) the facts underlying the claim, if proven and viewed in light of the
               evidence as a whole, would be sufficient to establish by clear and
               convincing evidence that, but for constitutional error, no reasonable
               factfinder would have found the applicant guilty of the underlying offense.

               (3) (A) Before a second or successive application permitted by this section
               is filed in the district court, the applicant shall move in the appropriate
               court of appeals for an order authorizing the district court to consider the
               application.

A district court may hear a claim not presented in a prior federal application only if the court of

appeals issues an order of authorization. 28 U.S.C. § 2244(b)(3). Any claim that was raised in a

prior federal habeas application is not subject to adjudication by the district court and must be

dismissed. 28 U.S.C.§ 2244(b)(1).
       Case 3:07-cv-00495 Document 7 Filed on 01/09/08 in TXSD Page 3 of 4



                In the pending habeas action, Petitioner alleges he received ineffective assistance

of counsel at trial because his attorney failed to request a jury instruction on defense of property

in cause number 02CR2111. Petitioner does not allege that this claim was not presented in his

first habeas corpus application due to a new rule of constitutional law, nor was the factual

predicate unavailable to applicant.      Although Petitioner's claim of ineffective assistance of

counsel was not exhausted when he filed his first federal habeas corpus application, the Fifth

Circuit has previously determined that this does not alter the conclusion that the pending writ is

successive. See Crone v. Cockrell, 324 F.3d 833, 837-38 (5th Cir. 2003); see also, In re Jose

Antonio Jimenez, 211 Fed. App’x 297, 298, 2006 WL 3821531 (5th Cir. 2006) (concluding that

subsequent federal habeas corpus application was successive notwithstanding that when

petitioner filed his first federal habeas corpus application, in which he challenged a disciplinary

action, the direct appeal of his conviction was still pending and his claims related to the

underlying conviction, while known to petitioner, were not yet exhausted); Reed v. Quarterman,

No. 07-10045, 2007 WL 2436206 (5th Cir. August 20, 2007), petition for cert. filed, ---

U.S.L.W.---, (U.S. Sept. 18, 2007) (No.07-7512). Accordingly, Respondent’s motion to dismiss

(Docket Entry No. 5) is GRANTED and this action (Docket Entry No. 1) is DISMISSED

without prejudice and as successive. Petitioner must seek authorization from the court of appeals

to proceed in this court on any new claims.

                The Court finds that Petitioner has not made a substantial showing that reasonable

jurists would find the Court’s ruling debatable. See Beazley v. Johnson, 242 F.3d 248, 263 (5th

Cir. 2001); Hernandez v. Johnson, 213 F.3d 243, 248 (5th Cir. 2000). For this reason, the Court

finds that a certificate of appealability should not issue in this case.
Case 3:07-cv-00495 Document 7 Filed on 01/09/08 in TXSD Page 4 of 4




      SIGNED at Houston, Texas, this 9th day of January, 2008.




                                      ___________________________________
                                               MELINDA HARMON
                                        UNITED STATES DISTRICT JUDGE
